Case 2:21-cv-05297-PA-PD Document 23 Filed 11/01/21 Page 1 of 2 Page ID #:171


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 8                               UNITED STATES DISTRICT COURT
 9                              CENTRAL DISTRICT OF CALIFORNIA
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11   ED HULL,                                       No. CV 21-05297 PA (PDx)

12                 Plaintiff,                       JUDGMENT
            v.
13
     WILLIAM LITTLE, and DOES 1-10,
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                   Defendants.
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            In accordance with the Court’s November 1, 2021 Order granting the Application for
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     Default Judgment filed by plaintiff Ed Hull (“Plaintiff”),
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            IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that:
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            1.     Plaintiff shall have judgment in his favor and against defendant William Little
23
     (“Defendant”); and
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            2.     Defendant is ordered to provide accessible exterior paths of travel, accessible
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     ramps, accessible parking, and an access aisle with compliant signage at the property located
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Case 2:21-cv-05297-PA-PD Document 23 Filed 11/01/21 Page 2 of 2 Page ID #:172


 1   at 11010 S. Prairie Avenue, Inglewood California, in compliance with the Americans with
 2   Disabilities Act Accessibility Standards.
 3
 4   DATED: November 1, 2021
                                                       __________________________________
 5                                                                Percy Anderson
 6                                                           United States District Judge

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